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IN THE UNlTED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO
CiVil ACtion No.: 17-172 3-STV
CHARLI BATT, an individual
Plaintiff,
v.
MEDIATION PROCESSING SERVICES LLC, a Florida limited liability company,

Defendant.

 

~[-PR@'POS-EB~] ]UDGMENT

 

COMES NOW, Plaintiff Charli Batt's Motion for Default judgment The Court, having
reviewed the motion, the affidavit in support of the motion, and otherwise being fully
advised of the premises, GRANTS the Motion and ORDERS judgment to enter in favor of
Plaintiff Charli Batt and against Defendant Mediation Processing SerViCeS, LLC, as folloWS:
[1] principal in the amount of $4,000.00; (2] attorney fees in the amount of $1,946.2 5; and
costs of $440.00. There shall be no prejudgment interest Post judgment interest Shall

accrue at the rate of1.24%.

DATED THIS jl;day of f"`)¢,i“. ,2017.
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